Case 4:20-cv-00447-ALM Document 149 Filed 02/14/24 Page 1 of 3 PageID #: 5113




                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF TEXAS
                                    SHERMAN DIVISION


    BRIAN HUDDLESTON,

              Plaintiff,

    vs.
                                                              Case No. 4:20-cv-447-ALM
    FEDERAL BUREAU OF
    INVESTIGATION and UNITED STATES
    DEPARTMENT OF JUSTICE

              Defendant


                   MOTION REGARDING EX PARTE, IN CAMERA FILING

          NOW COMES Brian Huddleston, the Plaintiff, moving the Court to order the FBI to

provide information about an ex parte, in camera filing:

          In Paragraph 9 of the Eighth Declaration of Michael G. Seidel 1 (Dkt. #148-1) filed on

February 8, 2024, Mr. Seidel indicates that the FBI made an ex parte, in camera filing “[w]hen

the FBI became aware that the USAO-DC and MPD had an open investigation into the death of

Seth Rich.” Any seasoned law enforcement officer knows that murder investigations are always

“open” until the murder is solved. It appears that the FBI has concocted a false story, namely that

it just learned – seven-and-a-half years after Mr. Rich’s murder – that the murder case is still

open, and that it therefore just learned that everything on the laptops is exempt from disclosure.

Mr. Huddleston strongly disputes the FBI’s self-serving assertion that it previously had no reason

to know that Seth Rich’s laptops were relevant to an “open” murder investigation. Simply put,



1
      The February 8, 2024 was actually the ninth declaration of Mr. Seidel in this case. The eighth
      declaration was filed on January 20, 2023. See Dkt. #95-5.


                                                     -1-
Case 4:20-cv-00447-ALM Document 149 Filed 02/14/24 Page 2 of 3 PageID #: 5114




this does not pass the smell test. In his forthcoming response to the FBI’s latest motion for

summary judgment (Dkt. #148), Mr. Huddleston will show in detail why the FBI’s claim rings

hollow, particularly at this juncture in this multi-year FOIA case. However, ex parte proceedings

run against the fundamental principle of transparency in judicial proceedings and raise serious

concerns that must be addressed immediately. “Ex parte proceedings are an exception to the rule

in our judicial system and contrary to its adversarial nature.” In re High Sulfur Content Gasoline

Prod. Liab. Litig., 517 F.3d 220, 231 (5th Cir. 2008), citing McKinney v. Paskett, 753 F.Supp.

861, 863 (D.Idaho 1990) (“The petitioner in this civil proceeding seeks unilateral in camera

secrecy. This clearly flies in conflict with ... the rules of civil procedure which allow ex parte

hearings only in emergency matters.”). At this point, Mr. Huddleston does not even know what

statute or rule purportedly authorized the ex parte filing. He therefore moves the Court to order

the FBI to do the following:

   (1) State when the ex parte filing occurred;

   (2) Explain what rule, statute or other law authorized the ex parte filing;

   (3) Explain why the FBI did not notify Plaintiff’s Counsel that it was making an ex parte
       filing;

   (4) Explain why the FBI could not have provided some generic description of the
       document(s) that it filed ex parte;

   (5) Provide at least some general description of the document(s) filed with the Court; and

   (6) Disclose whether there have been any other ex parte filings, communications, or
       presentations that have not been disclosed previously.

Mr. Huddleston further moves the Court to (1) permit his attorney to view the filing pursuant to

an attorney-eyes-only order; and (2) clarify whether the Court intends to rely on the filing as

evidence.




                                                 -2-
Case 4:20-cv-00447-ALM Document 149 Filed 02/14/24 Page 3 of 3 PageID #: 5115




                                            Respectfully submitted,

                                            /s/ Ty Clevenger
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                                            Counsel for Plaintiff Brian Huddleston




                                  Certificate of Conference

       On February 12, 2024, I conferred with Asst. U.S. Attorney James Gillingham via
telephone, and he indicated that the Defendants will oppose this motion.

                                            /s/ Ty Clevenger
                                            Ty Clevenger




                                    Certificate of Service

       On February 14, 2024, I filed a copy of this request with the Court’s ECF system, which
should result in automatic notification via email to Asst. U.S. Attorney James Gillingham,
Counsel for the Defendants, at james.gillingham@usdoj.gov.

                                            /s/ Ty Clevenger
                                            Ty Clevenger




                                             -3-
